                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                      CRIMINAL ACTION NO. 3:98-CR-00322-GCM
 UNITED STATES OF AMERICA,

     v.                                                         ORDER

 MICHAEL JEROME ORR,

                  Defendant.


          THIS MATTER comes before the Court on Defendant Michael Jerome Orr’s Motion to

Reduce Sentence Under the First Step Act (ECF No. 68). The United States filed a response (ECF

No. 71). Orr then filed a reply (ECF No. 73). The matter is now ripe for disposition. For reasons

that are discussed in more detail below, the Court will deny the motion.

          I.     BACKGROUND

          Michael Jerome Orr is serving a 46-year prison sentence for his role in a spate of home

invasions and robberies that claimed two lives. See ECF No. 41; ECF No. 42 at 3–4. In April 1997,

Orr was among four individuals who invaded the home of Mary Sellers. The intruders took money,

drugs, and a pistol.

          In July 1997, Orr and others conducted another home invasion, looking for drugs and

money. They pepper-sprayed the occupant, one Mr. Culp, and shot him in the torso. Culp later

died from his injuries. Later that month, Orr was among a group that shot and robbed a drug dealer.

          On August 4, 1997, Orr was involved in two armed robberies. He and another man got out

of a stolen car and held a group of women at gunpoint. When they turned out not to have any items

of value, Orr and the other man let them go. A half hour later, they held up another group,




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comprised of four Mexican nationals. This time, two of them were shot after failing to produce

enough money to satisfy their assailants.

       Finally, on August 10, 1997, Orr and others conducted a home invasion at a drug dealer’s

apartment. Orr kicked in the door, yelling “Police!” and holding a Mossberg shotgun. Another

individual struck the drug dealer, DeShawn Moss, in the back of the head with a “Club,” a metal

anti-theft steering wheel lock. Moss fell to the foot of the bed, begging for his life. Orr and his

companions took the valuables in the apartment. Before leaving, Orr aimed the shotgun at the base

of Moss’ neck and fired, killing him.

       A federal grand jury returned an eight-count indictment against Orr. ECF No. 1. Counts 1,

2, and 3 were for using and possessing a firearm in relation to a drug trafficking crime in violation

of 18 U.S.C. § 924(c)(1), and aiding and abetting the same in violation of 18 U.S.C. § 2. Count 4

alleged conspiracy to use or possess a firearm during a drug trafficking crime in violation of 18

U.S.C. § 924(o). Counts 5, 6, and 7 charged possession of a firearm by an underaged person in

violation of 18 U.S.C. § 922(x). Finally, Count 8 was for causing the death of a person in the

course of violating § 924(c), in violation of 18 U.S.C. § 924(j).

       Orr pled not guilty. Two of his co-defendants, Michael Smith and Tony Cherry, pled guilty

and testified against Orr at trial. The jury convicted Orr on all three § 924(c)(1) charges, and one

of the underage handgun possession counts. The government dismissed Count 6 (another underage

handgun possession count). The jury hung on all the remaining counts, including the count for

causing the death of a person in the course of violating § 924(c). That particular count alleged that

Orr had caused the death of DeShawn Moss on August 10, 1997. The Honorable Judge Cacheris

declared a mistrial on those counts, and the government subsequently dismissed them.




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       On March 21, 2000, Judge Cacheris imposed a 12-month sentence on the underage

possession count. He then imposed “stacked” sentences for the three § 924(c) counts of 60 months,

240 months, and 240 months, to be served consecutively. In all, the aggregate sentence was 552

months, or 46 years.

       Nearly 26 years later, Michael Orr filed the present motion. At the time of his motion, Orr

had served 311 months. Orr argued that his sentence should be reduced under the First Step Act

of 2018 because his stacked § 924(c) sentences and his age at the time of the offense constituted

“extraordinary and compelling reasons” for modification.

       II.     DISCUSSION

               a. Applicable Law

                       i. The First Step Act of 2018

       In December 2018, Congress passed the First Step Act of 2018. Pub. L. No. 115-391, 132

Stat. 5194 (2018). Although the effects of the Act ranged broadly, it did two things pertinent to

this matter. First, the Act eliminated “stacked” sentences for § 924(c) offenses. And second, the

Act authorized prisoners to directly petition the courts for compassionate release.

                               1. Sentence Stacking for § 924(c) Offenses

       Section 924(c) prohibits the use of a firearm “during and in relation to any crime of violence

or drug trafficking crime.” 18 U.S.C. § 924(c)(1)(A). The penalties for violating § 924(c) are stiff.

When a defendant “uses or carries a firearm” in violation of the statute, the first § 924(c) offense

carries a mandatory minimum sentence of five years. Id. § (c)(1)(A)(i). Any additional § 924(c)

offense carries a mandatory minimum sentence of 25 years. 1 Id. § (c)(1)(C)(i).



1 At the time of Orr’s conviction, the statute provided for a 20-year mandatory minimum for
recidivist § 924(c) offenses. See Deal v. United States, 508 U.S. 129, 130 (1993); Pub. L. No.
105-386, 112 Stat. 3469 (1998) (amending the recidivist penalty).
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       Before the passage of the First Step Act, a defendant charged with two counts of § 924(c)

faced a “stacked” sentence of 30 years, even if the defendant had never previously been convicted

of violating § 924(c). But the Act eliminated “stacking,” meaning that a defendant convicted of

two counts of using or carrying a firearm after the Act took effect would only face two five-year

sentences, not a five-year and a 25-year sentence. As things now stand, the 25-year mandatory

sentence is only available to punish a recidivist § 924(c) offender. See United States v. Jordan,

952 F.3d 160, 171 (4th Cir. 2020). The Act did not, however, make the change retroactive. See §

403(b), 132 Stat. at 5222.

                              2. Compassionate Release

       The First Step Act also amended the compassionate release statute, 18 U.S.C. § 3582.

Previously, that statute empowered the Bureau of Prisons—and only the Bureau of Prisons—to

seek release for prisoners under exceptional circumstances. See United States v. Brooker, 976 F.3d

228, 231 (2d Cir. 2020). But the First Step Act authorized prisoners to directly petition the courts

for compassionate release. Id. at 235. Under the present form of the statute, a court can reduce a

defendant’s sentence if (1) “extraordinary and compelling reasons” warrant a reduction; (2) the

reduction is “consistent with applicable policy statements issued by the Sentencing Commission;

and (3) the § 3553(a) sentencing factors merit a reduction. See 18 U.S.C. § 3582(c)(1)(A).

                      ii. United States v. McCoy

       Two years after the passage of the First Step Act, the Fourth Circuit clarified the application

of the compassionate release statute to “stacked” § 924(c) sentences. In United States v. McCoy,

981 F.3d 271 (4th Cir. 2020), the government appealed four consolidated cases. In each case, trial

judges had granted sentence reductions via the compassionate release statute, finding

“extraordinary and compelling reasons” in the sheer length of stacked § 924(c) sentences, and the



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disparity between those sentences and those deemed appropriate in the First Step Act. See id. at

274. The government argued that (1) treating a disproportionately long sentence as “extraordinary

and compelling” was not consistent with the Sentencing Commission’s policy statements; and (2)

Congress did not intend for sentence-stacking to constitute “extraordinary and compelling” reasons

because it chose not to make the changes to § 924(c) sentencing retroactive. Id. at 280.

       The Fourth Circuit rejected both arguments. It first concluded that there was no “applicable

policy statement” from the Sentencing Commission to consider. Id. at 281. The McCoy Court

specifically rejected the argument that U.S.S.G § 1B1.13 was an applicable policy statement. That

provision, according to the Fourth Circuit, only applied to compassionate release motions initiated

by the Bureau of Prisons. Id. at 282; see also U.S.S.G. § 1B1.13 cmt. 4.

       In affirming the trial courts’ decisions to consider § 924(c) stacked sentences as

“extraordinary and compelling” reasons under the compassionate release statute, the Fourth Circuit

outlined two key principles. First, a trial court “legitimately may consider, under the ‘extraordinary

and compelling reasons’ inquiry, that defendants are serving sentences that Congress itself views

as dramatically longer than necessary or fair.” McCoy, 981 F.3d at 285–86. The second principle

is that a trial court reviewing a stacked § 924(c) sentence need not automatically reduce the

sentence. See id. at 286. Instead, a trial court must make an “individualized assessment” of each

defendant’s sentence, comprising a “full consideration of the defendant’s individual

circumstances.” Id. The McCoy Court approvingly noted that the trial courts had considered the

defendants’ relative youth (from 19 to 24 years old) at the time of their offenses, the length of the

sentence that had already been served by each defendant, and the institutional records and

rehabilitative steps taken by each defendant while incarcerated. See id.

                      iii. Section 3553 Factors



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       The “individualized assessment” required by McCoy revolves around consideration of the

so-called § 3553 factors. Under the compassionate release statute, courts must consider the factors

from 18 U.S.C. § 3553(a) “to the extent that they are applicable” in deciding whether to grant

relief. See 18 U.S.C. § 3582(c)(1)(A). Those factors include (1) the nature and circumstances of

the offense; (2) the history and characteristics of the defendant; (3) the need for the sentence

imposed to reflect the seriousness of the offense, promote respect for the law, provide just

punishment for the offense, afford adequate deterrence to criminal conduct, and protect the public

from further crimes by the defendant; and (4) the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct. See id. §

3553(a).

               b. Analysis

       As a reminder, the compassionate release statute permits a court to reduce a defendant’s

sentence if (1) “extraordinary and compelling reasons” warrant a reduction; (2) the reduction is

“consistent with applicable policy statements issued by the Sentencing Commission; and (3) the §

3553(a) sentencing factors merit a reduction. 18 U.S.C. § 3582(c)(1)(A). The Court now discusses

each prong of the statute.

                       i. Extraordinary and Compelling Reasons

       Orr argues that his stacked § 924(c) sentences constitute “extraordinary and compelling

reasons” supporting his argument for a sentence reduction.2 Orr received a sentence of 552 months,



2Orr urges the Court to consider his age at the time of conviction as a standalone “extraordinary
and compelling” reason justifying compassionate release. ECF No. 68 at 15–17. The Court does
not believe that it is. A defendant’s youth at the time of the offense is certainly relevant in a
compassionate release motion, but is more appropriately considered in an analysis of the §
3553(a) factors. See McCoy, 981 F.3d at 286 (describing analysis of youth as part of the
“defendants’ individual circumstances,” not an “extraordinary and compelling reason”). In any


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with 540 of those months attributable to the three stacked § 924(c) counts. Had Orr been convicted

for the same thing today, he likely would have received an aggregate sentence of 192 months, with

180 months attributable to the § 924(c) counts. Orr’s severe sentence, coupled with an “enormous

disparity between that sentence and the sentence a defendant would receive today,” presents

exactly the extraordinary and compelling reason that existed in McCoy. 981 F.3d at 285.

       Orr argues that his case presents especially “extraordinary and compelling” circumstances,

given that (1) his § 924(c) convictions were predicated on a single drug-trafficking conspiracy;

and (2) that he was convicted after the Attorney General issued guidance prohibiting that practice.

See ECF No. 68 at 12–13. However, as Orr acknowledges, the Fourth Circuit allows multiple §

924(c) convictions to arise from a single predicate offense. See United States v. Camps, 32 F.3d

102, 106–09 (4th Cir. 1994). Moreover, Orr’s prosecution does not appear to run afoul of the so-

called “Robinson Memo,” because Orr was indicted before the memo issued. Compare ECF No.

68-2 at 3 (“United States Attorneys’ Offices are instructed in all future cases to adopt the practice

of basing each section 924(c) in an indictment upon a separate predicate offense.”) (emphasis

added), with ECF No. 1 (recording that Orr was indicted on November 4, 1998, before the August

24, 1999 Robinson Memo). Nevertheless, the Court agrees that “extraordinary and compelling

reasons” exist based on the sentence-stacking in this case.

                       ii. Applicable Policy Statements

       The Court next considers applicable policy statements. As the Fourth Circuit ruled in

McCoy, there are presently no applicable policy statements to consult under 18 U.S.C. §

3582(c)(1)(A). See 981 F.3d at 283. The Court declines the government’s invitation to consult the




event, the Court does not need to resolve whether youth qualifies as an “extraordinary and
compelling reason,” as it finds that sentence-stacking qualifies in this case.
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commentary to Section 1B1.13 for “specific and limited grounds for release” under the

compassionate release statute. See ECF No. 71 at 5 (citing U.S.S.G. § 1B1.13 cmt. n.1(A)). That

section, as the government acknowledges, is “not binding” in view of McCoy. And although it can

sometimes provide “helpful guidance even when motions are filed by defendants,” it does not

appear to be particularly helpful in this case. See McCoy, 981 F.3d at 282 n.7.

                      iii. Section 3553(a) Factors

       Even when “extraordinary and compelling” reasons supporting a sentence reduction are

present, compassionate release is not warranted unless the § 3553(a) factors also merit a reduction.

See id. at 271. That is because compassionate release judgments are the “product of individualized

assessments of each defendant’s sentence.” Id. at 286. The § 3553(a) factors do not support a

modification of Orr’s sentence.

                               1. Nature and Circumstances of the Offense

       The Court begins with the nature and circumstances of the offense. See 18 U.S.C. §

3553(a)(1). This factor is particularly weighty and compelling in the Court’s analysis, given the

extreme violence and callousness evidenced by Orr’s conduct. Michael Orr was involved in the

deaths of two people during home invasions. In the first home invasion, the presentence report

reads, “Orr and others sprayed the resident, Mr. Culp, with pepper spray and shot him in the upper

torso with a firearm.” ECF No. 42 at 4. In the second home invasion, Orr and two others burst into

an apartment. After the helpless inhabitant, DeShawn Moss, begged for his life, Orr fired a shotgun

into the base of his neck and killed him. Id.

       In his reply brief, Orr argues that the government wrongly “places the blame [for] the

deaths of Mr. Culp and Mr. Moss squarely on Orr’s shoulders.” ECF No. 73 at 8. Orr contends

that the blame cannot rest there, because (1) the government never charged Orr for Culp’s death;



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and (2) the jury failed to reach a verdict on the count related to DeShawn Moss’ death. These

arguments do not account for the expansive nature of sentencing proceedings, which permit courts

to consider uncharged and even acquitted conduct in determining a sentence. See United States v.

Grubbs, 585 F.3d 793, 799 (4th Cir. 2009); see also United States v. Jones, 31 F.3d 1304, 1316

(4th Cir. 1994) (“The defendant need not be convicted of the charges constituting relevant conduct

for him still to be held accountable for them.”).

       Here, Judge Cacheris wholly adopted the factual findings from the presentence report. See

ECF No. 41 at 6. The presentence report links Orr with the shooting of Mr. Culp, and identifies

Orr as Mr. Moss’ killer. Because Judge Cacheris found the facts as described in the presentence

report, the Court may, and does, consider both killings. The extraordinarily violent and horrific

nature of these crimes—including the execution-style shooting of a defenseless man with a

shotgun—weighs heavily against a sentence reduction.

                               2. History and Characteristics of the Defendant

       The Court turns to the history and characteristics of the defendant. Notably, Orr was 17 at

the time that he committed his offenses. 3 As the Supreme Court has recognized, “[C]hildren have

a lack of maturity and an underdeveloped sense of responsibility, leading to recklessness,

impulsivity, and heedless risk-taking.” Miller v. Alabama, 567 U.S. 460, 471 (2012). That makes

their conduct less morally culpable, and enhances their prospects for rehabilitation. See Graham

v. Florida, 560 U.S. 48, 68 (2010). As a result, Orr’s youth at the time of the offense does weigh

in favor of a sentence reduction.




3Orr turned 18 approximately a month and a half after he killed DeShawn Moss. See ECF No.
42 at 2, 4.
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       Orr is presently 42 years old. Because this age is associated with a moderate reduction in

the likelihood of recidivism, this characteristic weighs slightly in favor of a sentence reduction.

See United States Sentencing Commission, The Effects of Aging on Recidivism Among Federal

Offenders    (2017),    available   at    https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/research-publications/2017/20171207_Recidivism-Age.pdf, at 26 (noting that the

rearrest rate for a federal offender between 40 and 49 years is 52.8 percent, compared to 68.1

percent for offenders younger than 30).

       Next, both parties agree that Orr has “significant family and community support.” See ECF

No. 71 at 6; ECF No. 68 at 21. Orr has submitted heartfelt letters from his fiancée, daughter, sister,

parents, and others, expressing their support and their intention to help him if released. ECF No.

68-4. This factor also supports a sentence reduction. See United States v. Webb, 5 F.4th 495, 499

(4th Cir. 2021) (recording that a “strong family structure” was among a district court’s reasons for

reducing a sentence under the First Step Act).

       Finally, Orr directs the Court to his prison record as evidence of post-sentencing

rehabilitation. The government disputes the point, arguing that Orr accrued “49 disciplinary

infractions during his time in the Bureau of Prisons, including several infractions involving

violence.” ECF No. 71 at 7. Orr responds that his last disciplinary infraction was in 2014. See ECF

No. 68-3 at 4. Orr has completed substantial educational coursework in prison, including the

completion of his GED and 15 programs on reentry skills. Id. at 2–4. And Orr submitted letters

from other prisoners and individuals who effusively praise Orr’s transformation in prison. See ECF

No. 68-4 at 13–41. On balance, the Court agrees that this factor weighs moderately in favor of a

sentence reduction. See McCoy, 981 F.3d at 274 (affirming trial courts’ decisions to reduce

sentence based in part on evidence of rehabilitation in prison).



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                               3. Propriety of the Sentence

       Based on the foregoing discussion, the Court must consider whether the sentence presently

imposed adequately (1) reflects the seriousness of the offense; (2) promotes respect for the law;

(3) provides just punishment for the offense; (4) affords adequate deterrence to criminal conduct;

(5) protects the public from further crimes of the defendant; and (6) avoids unwarranted sentence

disparities among similarly-situated defendants. See 18 U.S.C. § 3553(a). The Court concludes

that the present sentence is appropriate.

       Thus far, every factor except for the nature and circumstances of the offense have weighed

in Orr’s favor. Orr was 17 at the time of the crime; he has significant family support; he appears

to have made meaningful progress in prison. And yet Orr was directly responsible for the deaths

of two people. He fired a shotgun shell into a prostrate man’s neck after that man had been pleading

for his life. He was involved in the fatal shooting of another man. He was also involved in the non-

fatal shootings of three others. As discussed earlier, the Court places great weight on the “nature

and circumstances of the offense,” outweighing the other factors in this case. See United States v.

Pauley, 511 F.3d 468, 476 (4th Cir. 2007) (permitting a district court to “reasonably accord

significant weight to a single sentencing factor in fashioning its sentence”).

       The 46-year sentence that Orr received was harsh, but it was also fair, given the need for

the sentence imposed to reflect the seriousness of the offense, justly punish it, and deter similar

conduct. And Orr’s sentence does not create an unwarranted sentence disparity with other

similarly-situated defendants.4 See, e.g., United States v. Boneshirt, 662 F.3d 509, 511 (8th Cir.



4
 Orr cites cases in which courts granted compassionate release to defendants convicted of
violent firearms offenses. See ECF No. 68 at 20–21. Those cases do not involve “similar
conduct,” as no one was killed by the defendants’ violent acts. The Court is not persuaded by the
two cases Orr cites which involve murders. See ECF No. 73 at 10–11 (citing United States v.


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2011) (affirming a 48-year sentence for a 17-year-old who pled guilty to second-degree murder);

United States v. Portillo, 981 F.3d 181, 182–84 (2d Cir. 2020) (upholding a 55-year sentence for

a 15-year-old who “participated in the execution-style murders of four members of a rival gang”);

United States v. Sparks, 941 F.3d 748, 750–57 (5th Cir. 2019) (affirming a 35-year sentence for a

16-year-old who participated in a carjacking, but left before two victims were shot by his

companions); see also United States Sentencing Commission, Sourcebook of Federal Sentencing

Statistics, Table 14: Average Length of Imprisonment for Offenders in Each Criminal History

Category         by         Primary          Offense         Category,         available         at

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-

sourcebooks/2000/table-14_0.pdf, at 31 (noting that the median sentence in FY 2000 for murder

in a criminal history category of VI was 470 months).

       In sum, the Court concludes that Orr has shown “extraordinary and compelling reasons”

for a sentence reduction, but that an individualized assessment of the § 3553(a) factors—especially

the nature and characteristics of the offense—do not warrant a reduction in his sentence. The Court

also concludes that the 46-year sentence that Orr received was sufficient, but not greater than

necessary, to accomplish the sentencing goals advanced by § 3553.

       III.    ORDER

       Michael Orr is to be commended for the progress that he has made in prison: Based on his

prison record and the accounts of the people who know him, Orr has experienced substantial



Wilkerson, No. 5:96-CR-167-1H, 2021 WL 1062353, at *1 (E.D.N.C. Mar. 19, 2021) and Brown
v. United States, Criminal Action No. ELH-00-0100, 2020 WL 7425328, at *1 (D. Md. Dec. 17,
2020). Nor is the Court persuaded by Orr’s argument that a reduction is necessary to eliminate
the disparity between his sentence and those of his co-defendants. See ECF No. 73 at 8–9. The
Fourth Circuit has flatly rejected the same argument, explaining that individuals who go to trial
and individuals who plead guilty are not similarly situated for sentencing purposes. United States
v. Susi, 674 F.3d 278, 288 (4th Cir. 2012).
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personal growth. The Court sincerely hopes that progress continues. Orr’s projected release date

is April 24, 2038. That day will come, and Michael Orr will have paid his debt to society. But the

debt has not yet been paid.

       IT IS THEREFORE ORDERED that the Motion to Reduce Sentence (ECF No. 68) is

DENIED.


                                           Signed: November 22,
                                           Signed: November 22, 2021
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